             Case 1:11-cv-03743-LGS Document 949 Filed 10/21/20 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK



DONNA KASSMAN, SPARKLE
PATTERSON, JEANETTE POTTER,
ASHWINI VASUDEVA, TINA BUTLER,
CHERYL CHARITY, HEATHER INMAN,
NANCY JONES AND CAROL MURRAY, et
al,                                                            Case No. 11-CV-3743 (LGS)

                    Plaintiffs,
                                                                        Civil Action
v.

KPMG LLP,

                    Defendant.


                                         [PROPOSED]
                                          X X X X X X X X ORDER

     LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Parties have agreed to pursue mediation in an attempt to resolve all pending

claims in this matter (Dkt. 941);

        WHEREAS Plaintiffs’ counsel has, to date, received authority from each of the Named Plaintiffs

and 437 of the 452 former opt-in plaintiffs who submitted Fact Sheets to represent them in settlement

negotiations including in the mediation;

        WHEREAS, 7 former opt-in plaintiffs have not yet responded to Plaintiffs’ Counsel’s request for

authority to represent them in the settlement negotiations including in the mediation;

        WHEREAS, 8 former opt-in plaintiffs have agreed to stipulate to the dismissal of their claims;

        IT IS HEREBY ORDERED that this matter is stayed pending the outcome of the mediation

process. It is further

      ORDERED that, the Parties shall file a joint letter on November 20, 2020, and every 30 days thereafter,
      apprising the Court of the status of mediation.
              Case 1:11-cv-03743-LGS Document 949 Filed 10/21/20 Page 2 of 4




       IT IS FURTHER ORDERED that the Parties shall file a joint letter within 14 days after the

mediation notifying the Court of the outcome of the mediation and proposing next steps.

       IT IS FURTHER ORDERED that with respect to the 7 former opt-in plaintiffs who have not

responded to Plaintiffs’ Counsel’s request for authority to represent them in the settlement negotiations,

Plaintiffs’ Counsel will make best efforts to notify these individuals in writing of the time and date and

participation information (e.g., log-in information) of the mediation. KPMG has reserved all rights to

seek any and all appropriate relief with respect to any former opt-in plaintiff who fails to respond to

Plaintiffs’ Counsel’s request for authority prior to the mediation and/or who fails to otherwise participate

in the mediation.

       IT IS FURTHER ORDERED that the former opt-in plaintiffs listed on Exhibit A (Dkt.___),

which identifies former opt-in plaintiffs who have stipulated to dismissal of their claims, are hereby

dismissed with prejudice, without costs or attorneys’ fees to any party.



So Ordered.


Dated: October 21, 2020
       New York, New York
Case 1:11-cv-03743-LGS Document 949 Filed 10/21/20 Page 3 of 4




                  Exhibit A
          Case 1:11-cv-03743-LGS Document 949 Filed 10/21/20 Page 4 of 4


Employee ID Number        Name
                          Bianco, Christine
                          Burris, Lacy
                          Hall-Smith, Emily
                          Hoover, Nicole
                          Mirza, Zehra
                          Nelson, Heidi
                          White, Dortha
                          Wu, Jingwen
